Case 2:21-cv-00229-Z Document 66 Filed 01/19/22 Page1ofi1 PagelD 5603

 

IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF TEXA
AMARILLO DIVISION

Wt

STATE OF TEXAS, et al.,

 

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CLERK, U.S. DISTRICT COURT

By.

U.S. DISTRICT COURT

rt TRY OF TEXAS

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Plaintiffs,

V. 2:21-CV-229
XAVIER BECERRA, in his official capacity
as Secretary of the United States Department
of Health and Human Services, et al.,

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Defendants.

ORDER

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Before the Court are Defendants’ Motion to Stay Further Proceedings (ECF No. 56),

Defendants’ Motion for a Stay of the Injunction Pending Appeal (ECF No. 60), and Plaintiffs’

Motion to Dismiss (ECF No. 63).

Considering the U.S. Supreme Court’s ruling in Biden v. Missouri, --- S.Ct. ---, Nos.

21A240 and 21A241, 2022 WL 120950 (U.S. Jan. 13, 2022), the Court finds that Plaintiffs’ Motion

to Dismiss should be and is hereby GRANTED. The Court dismisses the claims in this matter

WITHOUT PREJUDICE pursuant to Federal Rule of Civil Procedure 41(a)(2). The parties shall

bear their own fees and costs related to this litigation.

Accordingly, Defendants’ Motion to Stay Further Proceedings and Motion for a Stay of

the Injunction Pending Appeal are DISMISSED as moot.

SO ORDERED.

 

MATAHEW J. KACSMARYK
ED STATES DISTRICT JUDGE

 

 
